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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


LONNY MARTIN,                                 ]
                                              ]
                       Plaintiff              ]
                                              ]
v.                                            ]               No. 2:15-cv-00196-NT
                                              ]
                                              ]
PATRIOT SUBARU OF SACO,                       ]
                                              ]
                       Defendant              ]


     STIPULATION FOR DISMISSAL WITH PREJUDICE AND WITHOUT COSTS

       The parties, by their attorneys, pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil

Procedure, hereby stipulate to the dismissal of this action in full, including any and all claims and

counterclaims, with prejudice and without costs or fees to any party.



Dated: June 29, 2016                  ___/s/ Chad T. Hansen_____________________
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